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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF FLORIDA
MIAMI DIVISION

IN RE: PROCEEDING UNDER CHAPTER 13
Guillermo Enrique Salas CASE NO.: 20-22687-BKC-LMI

DEBTOR(S) /

MOTION TO PAYOFF CONFIRMED CHAPTER 13 PLAN

COMES NOW, the Debtor, Guillermo Enrique Salas, by and through the undersigned
counsel and files this Motion to Payoff Chapter 13 Plan and states as follows:

1. Debtor filed for Chapter 13 bankruptcy relief on November 19, 2020.

2. Debtor’s Chapter 13 Plan was confirmed on March 10, 2021.

3. That according to official form 122C-1, no disposable income was determined at
the time of filing and the applicable commitment period is 3 years.

4. That the debtor is currently in month 36 of this Bankruptcy case.

5. The Debtor wishes to Pay-off the balance due in the plan.

6. Funds to pay off the remaining balance owed under the confirmed chapter 13 plan
in the amount of $4,130.00 are being gifted by the debtor’s brother. Attached please
find affidavit provided by debtor’s brother. (Exhibit A)

WHEREFORE, the Debtor, Guillermo Enrique Salas, respectfully requests to this

Honorable Court that this Motion to Payoff Chapter 13 Plan be GRANTED.

I Hereby Certify that I am admitted to the Bar of the United States District Court for the Southern
District Court for the Southern District of Florida and I am in compliance with the additional qualifications
to practice in the Court set forth in Local Rule 2090-1 (A).

Law Offices of Patrick L. Cordero, Esq
Attorney for Debtor(s)

7333 Coral Way

Miami, FL 33155

Tel: (305) 445-4855

/s/_ (FILED ECF)
Patrick L. Cordero, Esq.
FL Bar No. 801992

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IN RE: CASE NO.: 20-22687-BKC-LMI
Guillermo Enrique Salas CHAPTER 13

DEBTOR(S)____/

| AFFIDAVIT OF GIFT
1, hur S Se a5 , do certify to the following:

1) Thave made a gift of $_4 130.00 tothe debtor(s).
2) My relationship to the debtor(s) is b fo 4h er

3) This gift is to be applied toward ¢ h )3, Bank rupley Pay of f

4) No repayment of the gift is expected or implied in the form of cash or by future
services of the recipient,

5) The funds given to the debtor(s) were not available to the donor from any person or
entity, including the debtor(s), or from an interest in any asset of the debtor.

6) The source of the gift is ChecKiny Qe¢e+. . The Trustee has been provided with
proof of the source of payment and tratfsfer of funds.

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Dondt’s SGpature Donor’s Name
19988 Sw 421 Gprect- 786 2644x496.
Donor’s Address Donor’s Telephone Number

WARNING: Your Signature above indicate that you fully understand that it is a Federal Crime

punishable by fine, imprisonment, or both to knowingly make any false statement concerning
any of the above facts as applicable under the provisions of Title 18, United States Code Section

1012 and 1014.

STATE OF FLORIDA COUNTY OF MCRD,

The foregoing instrument was acknowledged before me this 24, day of. Q Coher of 20 LA , by

Lay, SANELARODRIGUEZ/ALENCIA SPNowy E
2 fs} wr counnasion# soe ANIC K. Parivise?-Vilonetcs
EXPIRES: August 2 Print, Type/Stamp Name bf Notary

OR Produced Tdentifi cation:
Type of Identification Produced:
